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 8                                     UNITED STATES DISTRICT COURT
 9                           FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11    WILLIAM SCHROEDER,                                  No. 2:19-cv-2294 KJM DMC
12                        Plaintiff,
13           v.                                           ORDER
14    THE HERTZ CORPORATION,
15                        Defendant.
16

17          Plaintiff initially commenced this action under the Americans with Disabilities Act

18   (“ADA”) on November 13, 2019. (ECF No. 1.) Thereafter, on December 13, 2019, defendant

19   filed an answer to the complaint. (ECF No. 8.)

20          In the interest of avoiding the accumulation of fees and costs through potentially

21   unnecessary discovery and motion practice, and to allow the parties sufficient time to pursue an

22   early informal resolution of this matter, IT IS HEREBY ORDERED that:

23          1. This action is STAYED except as set forth herein and all previously set deadlines and

24                hearings are VACATED pending further order of the court.

25          2. The parties are directed to promptly meet and confer to discuss settlement of this

26                action. Settlement discussions require focus and preparation and should involve the

27                attorneys who will try the case and the person or persons having full authority to

28                negotiate and settle the case on any terms. Plaintiff should initiate settlement
                                                         1
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 1              discussions by providing a written itemization of damages and a meaningful
 2              settlement demand that includes an explanation of why the demand is appropriate.
 3              Defendant should respond with an acceptance of the offer or with a meaningful
 4              counteroffer, and which includes an explanation of why the counteroffer is reasonable.
 5              The parties should continue in this way until they reach settlement or have exhausted
 6              informal settlement efforts.
 7          3. If the parties have not been able to informally reach a settlement within 45 days, the
 8              parties shall initiate participation in the court’s Voluntary Dispute Resolution Program
 9              (“VDRP”) by contacting the court’s VDRP administrator, Sujean Park, at (916) 930-
10              4278 or SPark@caed.uscourts.gov, and file a notice on the court’s docket stating they
11              have contacted the VDRP administrator.1
12          4. The parties shall carefully review and comply with Local Rule 271, which outlines the
13              specifications and requirements of the VDRP.
14          5. No later than fourteen (14) days after completion of the VDRP session, the parties
15              shall jointly file their VDRP Completion Report, consistent with Local Rule 271(o).
16          IT IS SO ORDERED.
17   DATED: April 6, 2020
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26     The resources of the VDRP program are limited, and the parties are expected to make good faith
     efforts to timely and fully exhaust informal settlement efforts prior to initiating participation in
27   the VDRP. The court will look with disfavor upon parties stalling or failing to participate in the
     above-mentioned initial informal discussions, prompting potentially unnecessary participation in
28   the VDRP and straining the program’s resources.
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